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                                   3                                 UNITED STATES DISTRICT COURT

                                   4                             NORTHERN DISTRICT OF CALIFORNIA

                                   5                                         SAN JOSE DIVISION

                                   6

                                   7     ROTHSCHILD PATENT IMAGING LLC,                     Case No. 22-cv-01937-BLF
                                   8                    Plaintiff,
                                                                                            ORDER DISMISSING CASE
                                   9             v.                                         WITHOUT PREJUDICE
                                  10     IQ LOGIC, INC.,
                                  11                    Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On May 9, 2023, the Court ordered Plaintiff to file a motion for default judgment by no

                                  14   later than June 9, 2023. ECF No. 17. On June 12, 2023, after Plaintiff failed to timely file its

                                  15   motion or request an extension of time, the Court ordered Plaintiff to show cause by no later than

                                  16   June 26, 2023, why this case should not be dismissed for failure to prosecute. ECF No. 18. The

                                  17   Court explained that a failure to timely respond to the order to show cause would result in

                                  18   dismissal of the case without prejudice. Id. Plaintiff has not responded to the order to show cause.

                                  19   Accordingly, this action is DISMISSED WITHOUT PREJUDICE. See Fed. R. Civ. P. 41(b);

                                  20   Edwards v. Marin Park, Inc., 356 F.3d 1058, 1065 (9th Cir. 2004) (“The failure of the plaintiff

                                  21   eventually to respond to the court’s ultimatum . . . is properly met with the sanction of a Rule

                                  22   41(b) dismissal.”).

                                  23          IT IS SO ORDERED.

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                                  25   Dated: June 28, 2023

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                                                                                        BETH LABSON FREEMAN
                                  27                                                    United States District Judge
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